                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   NORTHERN DIVISION

AUTO-OWNERS INSURANCE COMPANY,                        )
                                                      )
            Plaintiff,                                )
                                                      )
            vs.                                       )      No. ____________________
                                                      )
SERIES C of NP ROAD PARTNERS, LLC,                    )
CHANDER BHATEJA, and                                  )
TN OAK RIDGE RUTGERS, LLC,                            )
                                                      )
            Defendants.                               )

                          COMPLAINT FOR DECLARATORY JUDGMENT

            COMES NOW Plaintiff Auto-Owners Insurance Company (“Auto-Owners”), by and

through counsel, and for its Complaint for Declaratory Judgment (“Complaint”) would show

unto the Court as follows:

            1.     Auto-Owners is a Michigan corporation with its principal place of business in

Lansing, Michigan.

            2.     Defendant Series C of NP Road Partners, LLC (“Series C”), a limited liability

company, is a citizen and resident of Anderson County, Oak Ridge, Tennessee. It may be served

with process and a copy of the Complaint through its registered agent Chander P. Bhateja, at 17

Presidential Drive, Oak Ridge, Tennessee 37830-7292.

            3.     Defendant Chander Bhateja (“Bhateja”) is a citizen and resident of Anderson

County, Tennessee and may be served with process and a copy of the Complaint at 17

Presidential Drive, Oak Ridge, Tennessee 37830-7292.

            4.     Defendant TN Oak Ridge Rutgers, LLC (“TN Oak Ridge”) is a South Carolina

limited liability company with its principal place of business in Greenville, South Carolina. It




4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 1 of 20 PageID #: 1
may be served with process through its registered agent Philip J. Wilson, at 550 S. Main Street,

Suite 300, Greenville, South Carolina 29601.

                                  JURISDICTION AND VENUE

            5.    This matter arises out of the sale of real property located in Anderson County,

Oak Ridge, Tennessee, and the contracts related to that sale.

            6.    Defendants Series C and Bhateja are subject to the jurisdiction of this Court as

they reside in Anderson County, Oak Ridge, Tennessee, within the Eastern District of Tennessee.

            7.    Defendant TN Oak Ridge is subject to the jurisdiction of this Court because it

conducted business in the Eastern District of Tennessee.

            8.    Venue is proper in this district and division because Series C, the named insured

on the insurance policy, has its principal place of business in Anderson County, Oak Ridge,

Tennessee.

            9.    The underlying civil action between TN Oak Ridge and Bhateja was filed in

Anderson County Chancery Court.

            10.   Under 28 U.S.C. § 123(a)(1), the Northern Division of Tennessee is the proper

venue for actions arising out of Anderson County, Tennessee.

            11.   Venue is proper in this district and division under 28 U.S.C. § 1391 as a

substantial part of the events giving rise to the claim occurred in Anderson County, Tennessee.

            12.   This action is brought under the Federal Declaratory Judgment Act, 28 U.S.C. §

2201. Auto-Owners seeks a declaratory judgment concerning its rights and obligations under

policy of insurance issued to Series C.

            13.   This action concerns an actual case and controversy over whether Auto-Owners

has a duty to defend or indemnify Bhateja pursuant to an insurance policy issued to Series C.


                                                  2

4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 2 of 20 PageID #: 2
            14.   The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a) in that there is complete diversity of citizenship between Plaintiff and Defendants and

the amount in controversy exceeds the sum or value of $75,000.00, exclusive of interest and

costs.

            15.   Upon information and belief, the members of TN Oak Ridge are citizens and

residents of South Carolina.

            16.   Upon information and belief, the members of TN Oak Ridge are not citizens and

residents of Michigan.

            17.   Upon information and belief, the member of Series C is Bhateja, a Tennessee

citizen and resident.

            18.   Plaintiff is a citizen of Michigan, and Defendants are citizens and residents of

Tennessee and South Carolina. Complete diversity of citizenship exists.

            19.   The Amended Complaint filed in the underlying action alleges that TN Oak Ridge

suffered damages in the amount of $150,000.00 as a result of the acts of Bhateja. Further, the

Amended Complaint filed in the underlying action alleges that TN Oak Ridge Rutgers, LLC is

entitled to recover $500,000.00 in punitive damages against Bhateja. As a result, the amount in

controversy in this Declaratory Judgment action exceeds $75,000.00 exclusive of interests and

costs.

            20.   The policy limits per occurrence of $1,000,000.00 for the policy of insurance

issued by Auto-Owners to Series C for commercial general liability coverage exceed the

minimum amount in controversy requirement of $75,000.00 required for this Court to exercise

jurisdiction over this matter.




                                                  3

4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 3 of 20 PageID #: 3
            21.    The amount in controversy in this declaratory judgment action exceeds the sum or

value of $75,000.00 exclusive of interest and costs.

            22.    This Court has personal jurisdiction over Auto-Owners, Series C, Bhateja, and TN

Oak Ridge.

                                    SPECIFIC ALLEGATIONS

            23.    In this Declaratory Judgment action, Auto-Owners seeks a declaration that it has

no duty to defend or indemnify Bhateja.

            24.    The underlying action is TN Oak Ridge Rutgers, LLC v. Chander Bhateja (the

“Action”).        The action was originally filed in the Chancery Court for Anderson County,

Tennessee on September 22, 2017 and was removed to this Court on October 26, 2017. On

November 16, 2017, the underlying action was remanded back to Anderson County Chancery

Court.

            25.    The plaintiff in the underlying action filed an Amended Complaint on January 4,

2018.

            26.    A copy of the Amended Complaint filed in the Action is attached hereto as

Exhibit 1.

            27.    The Action is currently pending in the Chancery Court for Anderson County,

Tennessee as Case No. 17-CH-9270.

            28.    The Amended Complaint filed by TN Oak Ridge in the Action (“Amended

Complaint”) alleges that it entered into a Sale-Purchase Commitment and Agreement dated May

13, 2016 with Defendant Bhateja “under which the Defendant agreed to purchase from the

Plaintiff a parcel of land consisting of approximately 2.6 acres located at Rutgers Avenue at

Wilson Street to be used for the construction of a hotel….” See Exhibit 1 hereto, Amended

Complaint, ¶ 3.
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4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 4 of 20 PageID #: 4
            29.   The Amended Complaint filed in the Action alleges that TN Oak Ridge and

Bhateja entered into an Escrow Closing Agreement and Addendum to Purchase Agreement on

August 29, 2016. See id., ¶ 4.

            30.   The Amended Complaint filed in the Action alleges TN Oak Ridge and Bhateja

entered into a Settlement Addendum to Escrow Closing Agreement and Addendum to Purchase

Agreement in February 2017, which provided amended and supplemental provisions pertaining

to the purchase of the real property. See id., ¶ 5.

            31.   The Amended Complaint filed in the Action alleges that the Settlement

Addendum provided that Bhateja agreed to accept the property in its current as is condition

notwithstanding whether TN Oak Ridge fully completed its site work obligations. See id., ¶ 6.

            32.   The Amended Complaint in the Action alleges that the Settlement Addendum

placed the responsibility upon Bhateja for all erosion control measures except for the initial

installation by TN Oak Ridge of hay bales along the western boundary of the property next to

TN Oak Ridge’s remaining property. See id., ¶ 7.

            33.   The Amended Complaint filed in the Action alleges that the property was

conveyed to Bhateja by a limited warranty deed dated March 21, 2017. See id., ¶ 8.

            34.   The Amended Complaint filed in the Action alleges that although Bhateja took

ownership of the property at that time, he failed to implement any erosion control measures or

any other measures to manage and control the flow of water from his property. See id.

            35.   The Amended Complaint filed in the Action alleges that this alleged failure

resulted in water, mud, sediment, and siltation entering into TN Oak Ridge’s building located

adjacent to Bhateja’s property thereby “causing severe damage to the Plaintiff’s building

including extensive mold damage.” See id.


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4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 5 of 20 PageID #: 5
            36.   The Amended Complaint filed in the Action alleges that Bhateja failed to comply

with the regulations and requirements of the Tennessee Department of Environment and

Conservation and the ordinances and requirements of the City of Oak Ridge that address

capturing and containing storm water, preventing construction site runoff, and preventing storm

water pollution. See id., ¶ 9.

            37.   The Amended Complaint filed in the Action alleges that the City of Oak Ridge

sent a letter dated July 25, 2017 to Bhateja that notified him of his violations and noncompliance

and of his failure during the four months that he had owned the property to implement the

protection measures required. See id.

            38.   The Amended Complaint filed in the Action alleges that this letter sets forth facts

that reveal violations, acts, omissions, and failures of Bhateja that have resulted in damages to

TN Oak Ridge. See id., ¶¶ 9-11.

            39.   The Amended Complaint filed in the Action alleges that Bhateja was aware at the

time of taking possession of the property that proper erosion control measures and compliance

with the regulations, ordinances, and requirements of the Tennessee Department of Environment

and Conservation and the City of Oak Ridge were necessary to protect the Plaintiff’s property

from flooding and sustaining damages and nevertheless failed to implement such measures. See

id., ¶ 12.

            40.   The Amended Complaint filed in the Action alleges that prior to taking possession

of the property Bhateja rejected a proposal of TN Oak Ridge to perform certain work for storm

drainage that Bhateja knew Bhateja was required to perform. See id.

            41.   The Amended Complaint filed in the Action alleges that after taking possession of

the property Bhateja continued to delay the performance of the storm drainage work even though


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4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 6 of 20 PageID #: 6
he knew that it was important that the work be performed promptly to protect TN Oak Ridge’s

property. See id.

            42.   The Amended Complaint filed in the Action alleges that Bhateja’s violations,

acts, omissions, and failures constitute a material breach of the Settlement Addendum Contract

thereby entitling TN Oak Ridge to recover against Bhateja for all damages caused by or resulting

from the breach. See id., ¶ 13.

            43.   The Amended Complaint filed in the Action alleges that Bhateja’s violations,

acts, omissions, and failures constitute a material breach of the provision incorporated in both the

Settlement Addendum and the Limited Warranty Deed requiring the Defendant to maintain the

property in compliance with all laws, in good condition, and repair and in the condition required

of a first-class mixed-use center. See id.

            44.   The Amended Complaint filed in the Action alleges that Bhateja’s violations,

acts, omissions, and failures also constitute negligence and negligence per se which were

proximate causes of the damages suffered by TN Oak Ridge and thereby entitling TN Oak Ridge

to recover for those damages. See id., ¶ 14.

            45.   The Amended Complaint filed in the Action alleges that Bhateja has maintained a

wrongful condition on his property over an unreasonable length of time and has engaged in a

unreasonable and unlawful use of his property that has resulted in material and substantial

annoyance, inconvenience, harm, and injury to TN Oak Ridge’s free use, possession, and

occupation of its property. See id., ¶ 15.

            46.   The Amended Complaint filed in the Action alleges that these acts constitute

nuisance which was allegedly a proximate cause of damages to TN Oak Ridge and which entitles




                                                 7

4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 7 of 20 PageID #: 7
TN Oak Ridge to recover against Bhateja for the damages caused by or resulting from the

alleged nuisance. See id.

            47.   The Amended Complaint filed in the Action alleges that the violations, acts,

omissions, and failures of Bhateja constitute a breach of his implied duty of good faith and fair

dealing. See id., ¶ 16.

            48.   The Amended Complaint filed in the Action alleges that the violations, omissions,

and failures of Bhateja were malicious, intentional, and/or reckless, thereby entitling the Plaintiff

to recover punitive damages against the defendant. See id., ¶ 17.

            49.   The Amended Complaint filed in the Action alleges that the damages allegedly

caused by Bhateja to TN Oak Ridge are in excess of $150,000.00 and that TN Oak Ridge is

entitled to recover costs and expenses of this litigation including reasonable attorney’s fees. See

id., ¶ 18.

            50.   The Amended Complaint filed in the Action alleges that TN Oak Ridge is entitled

to a permanent injunction prevent Bhateja from engaging in any further wrongful, unreasonable,

or unlawful use of his property that causes damage to TN Oak Ridge. See id., ¶ 19.

            51.   The Amended Complaint filed in the Action demands that the Court enter

judgment in favor of TN Oak Ridge and against Bhateja for a sum in excess of $150,000.00 for

damages sustained by TN Oak Ridge, a sum in excess of $500,000.00 for punitive damages

against Bhateja; all costs and expenses of the litigation including reasonable attorney’s fees,

prejudgment interest, court costs and discretionary costs, a permanent injunction preventing

Bhateja from engaging in any further wrongful, unreasonable, or unlawful use of his property

that causes damage to TN Oak Ridge, and for general relief. See id., Prayer for Relief found on

p. 6 of the Complaint.


                                                  8

4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 8 of 20 PageID #: 8
                                    THE INSURANCE POLICY

            52.   Bhateja applied for a policy of insurance with Auto-Owners on July 27, 2017.

            53.   A copy of Bhateja’s application is attached hereto as Exhibit 2.

            54.   Bhateja represented in his application that the property which is the subject of this

litigation had “no losses.” See Exhibit 2, p. 3 of 12.

            55.   Based on the representations made by Bhateja in his application, Auto-Owners

issued a policy of insurance to Series C.

            56.   The policy issued to Series C is a Commercial General Liability Policy

(“Policy”).

            57.   The term of the Policy was from July 27, 2017 to July 27, 2018.

            58.   The policy number for the policy is 172319-03324183-17.

            59.   A copy of the Policy is attached hereto as Exhibit 3.

            60.   Prior to making application, Mr. Bhateja had knowledge of the existence of

damage to TN Oak Ridge’s property, and that the damage was caused by erosion and runoff of

sediment from his property.

            61.   On June 29, 2017, Mark Watson of the City of Oak Ridge emailed Bhateja and

stated in his email as follows: “I am attaching the following picture after the two inch rainstorm

two weekends ago and want to suggest that, as property owner, you now need to take the

necessary steps to protect the adjacent building from the runoff of the Marriott site.”

            62.   A copy of this email is attached hereto as Exhibit 4.

            63.   On July 12, 2017, Kathryn Baldwin of the City of Oak Ridge emailed Bhateja.

The email stated as follows, in pertinent part, as follows: “I have concern regarding siltation

leaving the site and entering adjacent property. Due to our current weather patterns and severe


                                                    9

4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 9 of 20 PageID #: 9
 storm water vents your site is having adverse impact on adjacent properties as well as injuring

 the City’s storm water system . . . “.

             64.   A copy of this email is attached hereto as Exhibit 5.

             65.   Based upon investigation, Bhateja met with officials from the City of Oak Ridge

 to discuss the property’s drainage work plan and to discuss issues regarding that drainage on July

 26, 2017.

             66.   On July 31, 2017, Bhateja emailed Arnold Blackwell at the City of Oak Ridge and

 made reference to the drainage work plan for the property and an onsite meeting with the City of

 Oak Ridge team on July 26, 2017. A copy of this email is attached hereto as Exhibit 6.

             67.   On July 31, 2017, Bhateja emailed Arnold Blackwell of the City of Oak Ridge

 and in his email references details that were “requested at our July 26 gathering onsite.”

             68.   A copy of this email is attached hereto as Exhibit 7.

             69.   On July 30, 2017, Bhateja emailed Roger Flynn and Brian Mills with the City of

 Oak Ridge and in his email referenced a prior onsite meeting at 300 Rutgers Avenue and the

 email references that Bhateja wants “to ensure the drainage problem does not recur.”

             70.   A copy of this email is attached hereto as Exhibit 8.

             71.   Based upon these emails, including emails in which Bhateja was the author,

 Bhateja had knowledge of the existence of the damage occurring to TN Oak Ridge’s property

 and had this knowledge prior to making application for the Policy with Auto-Owners and prior to

 Auto-Owners issuing the policy.

             72.   The Policy contains the following language as part of the insuring agreement:

             COMMERCIAL GENERAL LIABILITY COVERAGE FORM

             SECTION I – COVERAGES


                                                    10

 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 10 of 20 PageID #: 10
             COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
             LIABILITY

                 1.   Insuring Agreement

                      a.    We will pay those sums that the insured becomes
                            legally obligated to pay as damages because of
                            “bodily injury” or “property damage” to which this
                            insurance applies. We will have the right and duty
                            to defend the insured against any “suit” seeking
                            those damages. We may at our discretion
                            investigate any claim or “occurrence” and settle any
                            claim or “suit” that may result. But:

                            (1)    The amount we will pay for damages is
                                   limited as described in Section III – Limits
                                   of Insurance; and

                            (2)    Our right and duty to defend end when we
                                   have used up the applicable limit of
                                   insurance in the payment of judgments or
                                   settlements under Coverage A or B or
                                   medical expenses under Coverage C.

                            No other obligation or liability to pay sums or
                            perform acts or services is covered unless explicitly
                            provided for under Supplementary Payments –
                            Coverages A and B.

                      b.    This insurance applies to “bodily injury” and
                            “property damage” only if:

                            (1)    The “bodily injury” or “property damage” is
                                   caused by an “occurrence” that takes place
                                   in the “coverage territory”;

                            (2)    The “bodily injury” or “property damage”
                                   occurs during the policy period; and

                            (3)    Prior to the policy period, no insured listed
                                   under Paragraph 1. of Section II – Who Is
                                   An Insured and no “employee” authorized
                                   by you to give or receive notice of an
                                   “occurrence” or claim, knew that the “bodily
                                   injury” or “property damage” had occurred
                                   in whole or in part. If such a listed insured
                                   or authorized “employee” knew, prior to the
                                   policy period, that the “bodily injury” or
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 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 11 of 20 PageID #: 11
                                 “property damage” occurred, then any
                                 continuation or resumption of such “bodily
                                 injury” or “property damage” during or after
                                 the policy period will be deemed to have
                                 been known prior to the policy period.

                          c.     “Bodily injury” or “property damage” will
                                 be deemed to have been known to have
                                 occurred at the earliest time when any
                                 insured listed under Paragraph 1. Of Section
                                 II- Who Is An Insured or any “employee”
                                 authorized by you to give or receive notice
                                 of an “occurrence” or claim:

                                 (1) Reports all, or any part, of the “bodily
                                 injury” or “property damage” to us or any
                                 other insurer;

                                 (2) Receives a written or verbal demand or
                                 claim for damages because of the “bodily
                                 injury” or “property damage”; or

                                 (3) Becomes aware by any other means that
                                 “bodily injury” or “property damage” has
                                 occurred or has begun to occur.

             2.    Exclusions

                   This insurance does not apply to:

                   a.     Expected Or Intended Injury

                          “Bodily injury” or “property damage” expected or
                          intended from the standpoint of the insured. This
                          exclusion does not apply to “bodily injury”
                          resulting from the use of reasonable force to protect
                          persons or property.

                   b.     Contractual Liability

                          “Bodily injury” or “property damage” for which the
                          insured is obligation to pay damages by reason of
                          the assumption of liability in a contract or
                          agreement. This exclusion does not apply to liability
                          for damages:

                          (1)    Assumed in a contract or agreement that is
                                 an “insured contract”, provided the “bodily
                                           12

 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 12 of 20 PageID #: 12
                                injury” or “property damage” occurs
                                subsequent to the execution of the contract
                                or agreement. However, if the insurance
                                under this policy does not apply to the
                                liability of the insured, it also does not apply
                                to such liability assumed by the insured
                                under an “insured contract”.

                         (2)    That the insured would have in the absence
                                of the contract or agreement.

                   f.    Pollution

                         (1)    “Bodily injury” or “property damage”
                                arising out of the actual, alleged or
                                threatened discharge, dispersal, seepage,
                                migration, release or escape of “pollutants”:

                                (a) At or from any premises, site or location
                                which is or was at any time owned or
                                occupied by, or rented or loaned to, any
                                insured. However, this subparagraph does
                                not apply to:…

                         (2)    Any loss, cost or expense arising out of any:

                                (a) Request, demand, order or statutory or
                                regulatory requirement that any insured or
                                others test for, monitor, clean up, remove,
                                contain, treat, detoxify or neutralize, or in
                                any way respond to, or assess the effects of,
                                “pollutants”; or…

                   j.    Damage to Property

                         “Property damage” to:

                         (6)    That particular part of real property on
                                which any insured or any contractors or
                                subcontractors working directly or indirectly
                                on your behalf are performing operations, if
                                the “property damage” arises out of those
                                operations; or

                         (7)    That particular part of any property that
                                must be restored, repaired or replaced
                                because “your work” was incorrectly
                                performed on it.
                                          13

 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 13 of 20 PageID #: 13
                              Paragraphs (4), (5), (6) and (7) of this exclusion do
                              not apply to liability assumed under a side-track
                              agreement.

                              Paragraph (7) of this exclusion does not apply to
                              “property damage” included in the “products-
                              completed operations hazard.”

                       l.     Damage To Your Work

                              “Property damage” to “your work” arising out of it
                              or any part of it and included in the “products-
                              completed operations hazard”.

                       m.     Damage To Impaired Property Or Property Not
                              Physically Injured

                              “Property damage” to “impaired property” or
                              property that has not been physically injured,
                              arising out of:

                              (1)     A defect, deficiency, inadequacy or
                                      dangerous condition in “your product” or
                                      “your work”; or

                              (2)     A delay or failure by you or anyone acting
                                      on your behalf to perform a contract or
                                      agreement in accordance with its terms.

                              This exclusion does not apply to the loss of use or
                              other property arising out of sudden and accidental
                              physical injury to “your product” or “your work”
                              after it has been put to its intended use.

             SECTION II – WHO IS AN INSURED

                  1.   If you are designated in the Declarations as:

                       c.     A limited liability company, you are an insured.
                              Your members are also insureds, but only with
                              respect to the conduct of your business. Your
                              managers are insureds, but only with respect to their
                              duties as your managers.

                  2.   Each of the following is also an insured:

                       a.     Your “employees” other than wither your
                              “executive officers” (if you are an organization
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 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 14 of 20 PageID #: 14
                               other than a partnership, joint venture, or limited
                               liability company) or your managers (if you are al
                               limited liability company), but only for acts within
                               the scope of their employment by you or while
                               performing duties related to the conduct of your
                               business, or your “volunteer workers” only while
                               performing duties related to the conduct of your
                               business. However, none of these “employees” or
                               “volunteer workers” are insureds for “bodily
                               injury:, “personal injury”, or “advertising injury”:…

             SECTION V – DEFINITIONS

                  4.    “Bodily injury” means bodily injury, bodily sickness or
                        bodily disease sustained by a person, including death
                        resulting from any of these at any time.

                  14.   “Occurrence means an accident, including continuous or
                        repeated exposure to substantially the same general harmful
                        conditions.

                  16.   “Pollutants” mean any solid, liquid, gaseous or thermal
                        irritant or contaminant, including smoke, vapor, soot,
                        fumes, acids, alkalis, chemicals and waste. Waste includes
                        materials to be recycled, reconditioned or reclaimed.

                  17.   “Products-completed operations hazard”;

                        a.     Includes all “bodily injury” and “property damage”
                               occurring away from premises you own or rent and
                               arising out of “your product” or “your work”
                               except:

                               (1)    Products that are still in your physical
                                      possession; or

                               (2)    Work that has not yet been completed or
                                      abandoned. However, “your work” will be
                                      deemed completed at the earliest of the
                                      following times:

                                      (a)     When all of the work called for in
                                              your contract has been completed.

                                      (b)     When all of the work to be done at
                                              the job site has been completed if
                                              your contract calls for work at more
                                              than one job site.
                                                 15

 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 15 of 20 PageID #: 15
                                  (c)     When that part of the work done at a
                                          job site has been put to its intended
                                          use by any person or organization
                                          other than another contractor or
                                          subcontractor working on the same
                                          project.

                                          Work that may need service,
                                          maintenance, correction, repair or
                                          replacement, but which is otherwise
                                          complete, will be treated as
                                          completed.

                   b.     Does not include “bodily injury” or “property
                          damage” arising out of:

                          (1)     The transportation of property, unless the
                                  injury or damage arises out of a condition in
                                  or on a vehicle not owned or operated by
                                  you, and that condition was created by the
                                  “loading or unloading” of that vehicle by
                                  any insured;

                          (2)     The existence of tools, uninstalled
                                  equipment or abandoned or unused
                                  materials; or

                          (3)     Products or operations for which the
                                  classification, shown in the Declarations,
                                  states that products-completed operations
                                  are included.

             18.   “Property damage” means:

                   a.     Physical injury to tangible property, including all
                          resulting loss of use of that property. All such loss
                          of use shall be deemed to occur at the time of the
                          physical injury that caused it; or

                   b.     Loss of use of tangible property that is not
                          physically injured. All such loss shall be deemed to
                          occur at the time of the “occurrence” that caused it.

                   For the purposes of this insurance, electronic data is not
                   tangible property.

                   As used in this definition, electronic data means
                   information, facts or programs stored as or on, created or
                                             16

 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 16 of 20 PageID #: 16
                          used on, or transmitted to or from computer software,
                          including systems and applications software, hard or floppy
                          disks, CD-ROMS, tapes, drives, cells, data processing
                          devices or any other media which are used with
                          electronically controlled equipment.

                   27.    “Your work”:

                          a.     Means:

                                 (1)      Work or operations performed by you or on
                                          your behalf; and

                                 (2)      Materials, parts or equipment furnished in
                                          connection with such work or operations.

                          b.     Includes:

                                 (1)      Warranties or representations made at any
                                          time with respect to the fitness, quality,
                                          durability, performance or use of “your
                                          work”; and

                                 (2)      The providing of or failure to provide
                                          warnings or instructions.

             73.   Bhateja requested that Auto-Owners provide a defense for them for the claims

 made in the Action pursuant to the Policy.

             74.   Auto-Owners agreed to provide a defense for Bhateja in the Action subject to a

 reservation of rights, which included, but was not limited to, the right of Auto-Owners to file a

 declaratory judgment action to determine whether the Policy issued to Series C provided

 coverage for the claims made in the Action by TN Oak Ridge.

             75.   The Policy does not provide coverage for the claims made in the Action by TN

 Oak Ridge against Bhateja.

             76.   The Policy does not provide coverage for the claims made in the Action by TN

 Oak Ridge because of the “known loss” exclusion. Bhateja knew of the ongoing losses to the

 property prior to his application for the Policy.

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 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 17 of 20 PageID #: 17
             77.   At the time of application for the Policy, Bhateja misrepresented to Auto-Owners

 that the property had “no losses.”

             78.   This misrepresentation by Auto-Owners increased the risk of loss to Auto-

 Owners.

             79.   The expected/intended exclusion in the Policy excludes coverage for the claims of

 breach of contract and punitive damages based on the allegations made in the Amended

 Complaint filed in the Action.

             80.   The Policy does not provide coverage for the claims of negligence, negligence per

 se, nuisance, breach of implied duty of good faith and fair dealing, and punitive damages as none

 of the allegations made in the claims assert a claim for “property damage” as the term is defined

 in the Policy.

             81.   The Policy do not provide coverage for any damages sought in the Action that do

 not constitute “property damage” or “bodily injury” as those terms are defined in the Policy

             82.   The Policy does not provide coverage to Bhateja for the claims made in the

 Action.

             83.   A review of the terms of the Policy as well as the allegations of the Complaint

 filed in the Action establishes that Auto-Owners does not have any duty to defend Bhateja in the

 Action.

             84.   A review of the terms of the Policy as well as the allegations of the Complaint

 filed in the Action establishes that Auto-Owners does not have any duty to indemnify Bhateja for

 any judgment entered against him in the Action.

             85.   Series C is a proper party to this declaratory judgment action because it is the

 named insured on the Policy.


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 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 18 of 20 PageID #: 18
             86.   Bhateja is a proper party to this declaratory judgment action because he is a

 potential insured pursuant to the Policy and this action will determine whether he has insurance

 coverage under the Policy for the claims made in the Action.

             87.   TN Oak Ridge is a proper party to this declaratory judgment action because it, as

 plaintiff in the Action, has an interest in whether Bhateja has insurance coverage to pay any

 judgment that may be entered in the Action in favor of TN Oak Ridge.

             88.   Neither Auto-Owners nor any of the Defendants have sought, by any other legal

 action to have their respective rights adjudicated under the facts and circumstances presented

 herein.




                                                  19

 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 19 of 20 PageID #: 19
 WHEREFORE, Auto-Owners prays:

             (a)    That service of process be issued and served upon the Defendants listed above;

             (b)    That this Court enter an Order declaring Auto-Owners does not have any duty or

 obligation to defend Bhateja in the Action;

             (c)    That this Court enter an Order declaring that Auto-Owners does not have any duty

 or obligation to indemnify Bhateja for any judgment entered against it in the Action;

             (d)    That this Court enter an Order declaring that the Policy does not provide

 insurance coverage to Bhateja for the claims and damages alleged in the Action; and

             (e)    For such other relief as the Court deems equitable and necessary under the

 circumstances, and for the costs of this cause.

             Respectfully submitted this the 28th day of August, 2018.

                                                 WOOLF, McCLANE, BRIGHT, ALLEN &
                                                 CARPENTER, PLLC


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                                                    20

 4154632.7
Case 3:18-cv-00355-JRG-HBG Document 1 Filed 08/28/18 Page 20 of 20 PageID #: 20
